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  6

  7   Attorneys for Defendant
      Palomar Community College District
  8

  9                         UNITED STATES DISTRICT COURT
 10                       SOUTHERN DISTRICT OF CALIFORNIA
 11

 12   KATHRYN KAILIKOLE, an                     Case No: 3:18-cv-02877-AJB-MSB
      individual,
 13                                             [Previously San Diego Superior Court
 14                        Plaintiff,           Case No. 37-2018-00058754-CU-WT-NC
                                                before the Honorable Ronald F. Frazier]
 15          v.
                                                DEFENDANT PALOMAR
 16   PALOMAR COMMUNITY                         COMMUNITY COLLEGE
 17
      COLLEGE DISTRICT, a                       DISTRICT’S NOTICE OF MOTION
      governmental entity; and DOES 1           AND MOTION TO DISMISS
 18   through 25, inclusive,                    PURSUANT TO F.R.C.P. RULES
                                                12(B) AND 12(B)(6)
 19                        Defendants.
                                                Date: April 4, 2019
 20                                             Time: 2:00 p.m.
 21
                                                State Complaint: November 20, 2018
 22                                             Removed: December 26, 2018
 23

 24          NOTICE IS HEREY GIVEN that on April 4, 2019, at 2:00 p.m., in the
 25   United States District Court of the Southern District of California, before the
 26   Honorable Anthony J. Battaglia, located at 333 W. Broadway, Suite 420, San
 27   Diego, CA 92101, Defendant Palomar Community College District (“the District”)
 28   will and hereby does move the Court to dismiss Plaintiff Kathryn Kailikole’s
                                                1
                                         DEF’S NTC OF MOTION AND MOTION TO DISMISS
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
      FPDOCS 34899246.1
Case 3:18-cv-02877-AJB-MSB Document 5 Filed 01/10/19 PageID.243 Page 2 of 3



  1   Complaint pursuant to Rules 12(b) and 12(b)(6) of the Federal Rule of Civil
  2   Procedure.
  3          Defendant brings the present Motion seeking dismissal of Plaintiff’s
  4   Complaint pursuant to Rule 12(b)(6) on the basis that Plaintiff fails to state a claim
  5   upon which relief may be granted because: as to Plaintiff’s First, Second, and
  6   Seventh Causes of Action, Plaintiff does not allege that she engaged in any
  7   protected activity; and, as to Plaintiff’s Fourth, Fifth, and Sixth Causes of Action,
  8   Plaintiff does not allege that she suffered a “disability” recognized under the
  9   California Fair Employment & Housing Act.
 10          Further, Defendant also brings this Motion as a nonenumerated Rule 12(b)
 11   motion on the basis that: as to Plaintiff’s Third through Seventh Causes of Action,
 12   Defendant has an absolute immunity defense to all of Plaintiff’s state law claims;
 13   and, as to Plaintiff’s Seventh Cause of Action, Plaintiff failed to exhaust internal
 14   grievance procedures.
 15          This Motion will be based upon this Notice of Motion and Motion;
 16   Defendant’s Memorandum of Points and Authorities; the Request for Judicial
 17   Notice and exhibits thereto and Declaration of Lisa Norman and exhibits thereto
 18   filed concurrently herewith; and all pleadings on file in this action, and upon such
 19   other matters as may be presented to the Court at the time of the hearing.
 20

 21    Dated: January 10, 2019                      Respectfully submitted,
 22                                                 FISHER & PHILLIPS LLP
 23                                          By: /s/ Adam F. Sloustcher
                                                  Regina A. Petty
 24                                               Adam F. Sloustcher
 25                                               Attorneys for Defendant
                                                  Palomar Community College District
 26

 27

 28
                                                2
                                       DEF’S NTC OF MOTION AND MOTION TO DISMISS
                                                     CASE NO. 3:18-CV-02877-AJB-MSB
      FPDOCS 34899246.1
Case 3:18-cv-02877-AJB-MSB Document 5 Filed 01/10/19 PageID.244 Page 3 of 3



  1                            CERTIFICATE OF SERVICE
  2         I, the undersigned, am employed in the County of San Diego, State of
      California. I am over the age of 18 and not a party to the within action; am employed
  3   with the law offices of Fisher & Phillips LLP and my business address is
      4747 Executive Drive, Suite 1000, San Diego, California, 92121.
  4
            On January 10, 2019, I served the foregoing document entitled
  5   DEFENDANT PALOMAR COMMUNITY COLLEGE DISTRICT’S
      NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
  6   F.R.C.P. RULE 12(B)(6) on all the appearing and/or interested parties in this
      action by placing       the original     a true copy thereof enclosed in sealed
  7   envelope(s) addressed as follows:
  8    Evan Dwin                                 Telephone: (760) 536-6471
       DWIN LEGAL, APC                           Facsimile: (760) 585-4649
  9    2121 Palomar Airport Road, Suite 170 E-Mail: edwin@dwinlegal.com
       Carlsbad, CA 92011                        Attorneys for Plaintiff
 10                                              Kathryn Kailikole
           [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
 11         via the United States District Court’s Electronic Filing Program on the
            designated recipients via electronic transmission through the CM/ECF
 12         system on the Court’s website. The Court’s CM/ECF system will generate a
            Notice of Electronic Filing (NEF) to the filing party, the assigned judge, and
 13         any registered users in the case. The NEF will constitute service of the
            document(s). Registration as a CM/ECF user constitutes consent to electronic
 14         service through the court’s transmission facilities.
           [by OVERNIGHT SERVICE] - I am readily familiar with the firm’s
 15         practice for collection and processing of correspondence for overnight
            delivery. Under that practice such correspondence will be deposited at a
 16         facility or pick-up box regularly maintained by the overnight service for
            receipt on the same day in the ordinary course of business with delivery fees
 17         paid or provided for in accordance with ordinary business practices.
 18         I declare that I am employed in the office of a member of the bar of this
      Court at whose direction the service was made.
 19
           Executed January 10, 2019, at San Diego, California.
 20                                       By:
        Michael Lynn Filio
 21

 22

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                                          1
                                CERTIFICATE OF SERVICE
      FPDOCS 34899246.1
